
625 S.E.2d 785 (2005)
360 N.C. 174
John Andrew CLAYTON, III
v.
T.H. BRANSON, individually and in his official capacity, The Greensboro Police Department and The City of Greensboro.
No. 370P05.
Supreme Court of North Carolina.
December 1, 2005.
Harold F. Greeson, Seth R. Cohen, Greensboro, for John Andrew Clayton, III.
Fred T. Hamlet, Alan W. Duncan, Greensboro, Allison O. Van Laningham, for T.H. Branson, et al.

ORDER
Upon consideration of the petition filed on the 12th day of July 2005 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 1st day of December 2005."
